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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: December 19, 2019




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

 In re: TAGNETICS INC.,                           Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7

    Order Scheduling Telephonic Hearing on Tagnetics’ Application for Attorney Fees as
       Compensatory Damages (doc. 134) and Petitioning Creditors’ Motion to Hold
             Tagnetics in Indirect Contempt (doc. 145), and in the Alternative,
                   an Evidentiary Hearing, and Ordering Other Matters

        IT IS HEREBY ORDERED that a hearing shall be held on January 28, 2020 at 10:30 a.m.
 (Eastern Time) on the following filings:

       Tagnetics’ Application for Attorneys’ Fees as Compensatory Damages Pursuant to
        the Court’s October 25, 2019 Order (doc. 134)

        o Response to Tagnetics Application for Attorney Fees as Compensatory Damages
          (doc. 154)

       Motion to Hold Tagnetics in Indirect Contempt (doc. 145)

        o Tagnetics’ Opposition to Motion for Contempt (doc. 153)

        o Petitioning Creditors’ Reply to Tagnetics Opposition to Motion for Contempt
          (doc. 155)
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 (the “Contested Matters”). The hearing shall proceed as a telephonic hearing at which the
 court intends to hear argument on the Contested Matters, unless one or more parties
 requests an evidentiary hearing as set forth below. Counsel for Tagnetics and each of the
 remaining Petitioning Creditors shall participate in the hearing unless otherwise ordered
 by the court.

         All parties shall maintain at the phone number filed with the court an open phone line
 on the above date for a period five (5) minutes prior to the above time and continuously
 thereafter until the pretrial conference commences. If the parties will be available at a
 different phone number other that one filed with the court, they shall provide the court
 with the appropriate number by contacting the courtroom deputy by email at
 Joni_Behnken@ohsb.uscourts.gov or by calling 937‐225‐2863 prior to the commencement
 of the telephonic hearing.

          To the extent that any party involved in the Contested Matters believes that an
 evidentiary hearing is necessary with regard to either of the Contested Matters, such party
 shall file, not later than January 10, 2020, a request for an evidentiary hearing. In the
 absence of any such request the court will proceed with the hearing as a telephonic
 hearing at which no evidence will be taken. If a request for evidentiary hearing is timely
 filed, the parties shall appear before Judge Guy R. Humphrey in the West Courtroom on the
 first floor of The United States Bankruptcy Court, 120 W. Third Street, Dayton, Ohio 45402
 on January 28, 2020 at 10:30 a.m. (Eastern Time) and be prepared to present all evidence,
 witnesses and exhibits at that time.

         All counsel and pro se parties who wish to present witnesses or other evidence at an
 evidentiary hearing shall complete the appropriate Local Bankruptcy Rule Form 7016‐1
 (Attachment B) Exhibit List(s). The Exhibit List(s), together with complete copies of all
 proposed exhibits which the Petitioning Creditors or Tagnetics may offer as exhibits
 individually and/or jointly, shall be filed with the court and exchanged with opposing
 counsel not later than January 21, 2020. Exhibits not timely exchanged may not be admitted
 at the hearing. If the Petitioning Creditors proceed on a pro se basis and they intend to call
 witnesses or introduce documents at the hearing as evidence, they or someone on their
 behalf must either bring their documents to the courthouse or mail their documents, by
 overnight or other expedited service, in time to ensure that their documents are received
 by the Clerk by January 21, 2020. If any documents intended to be introduced as evidence at
 the hearing are not filed with the court by January 21, 2020, the party seeking to introduce
 those documents as evidence may be precluded from using those documents as evidence
 at the hearing.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus
 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

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